 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                             :
RAFAELA ALEJANDRO ARRIAGA,                                   :                              11/15/2019
LEONIDES ELEUTERIO JERONIMO,                                 :
individually and on behalf of others similarly               :
situated,                                                    :          15-CV-00213 (VSB)
                                                             :
                                         Plaintiffs,         :                ORDER
                                                             :
                           -against-                         :
                                                             :
                                                             :
NIPA THAI RESTAURANT CORP d/b/a THAI :
SEASONS, et al.,,                                            :
                                                             :
                                         Defendants.         :
                                                             :
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 VERNON S. BRODERICK, United States District Judge:

          The Court has been advised that the parties have reached a settlement in this Fair Labor

 Standards Act (“FLSA”) case. (Doc. 80) Parties may not privately settle FLSA claims with

 prejudice absent the approval of the district court or the Department of Labor. See Cheeks v.

 Freeport Pancake House, Inc., 796 F.3d 199, 200 (2d Cir. 2015). Rather, the parties must satisfy

 this Court that their settlement is “fair and reasonable.” Velasquez v. SAFI-G, Inc., No. 15cv3068,

 2015 WL 5915843, at *1 (S.D.N.Y. Oct. 7, 2015).

          In order to determine whether an agreement is fair and reasonable under the FLSA, I must:

                  consider the totality of circumstances, including but not limited to the
                  following [5] factors: (1) the plaintiff’s range of possible recovery; (2) the
                  extent to which ‘the settlement will enable the parties to avoid anticipated
                  burdens and expenses in establishing their respective claims and defenses;
                  (3) the seriousness of the litigation risks faced by the parties; (4) whether
                  ‘the settlement agreement is the product of arm’s length bargaining
                  between experienced counsel’; and (5) the possibility of fraud or
                  collusion.

 Beckert v. Rubinov, No. 15 Civ.1951(PAE), 2015 WL 6503832, at *1 (S.D.N.Y. Oct. 27, 2015)
(quoting Wolinsky v. Scholastic Inc., 900 F. Supp. 2d 332, 335 (S.D.N.Y. 2012)). And, if the

settlement agreement includes a provision for attorney’s fees, I must “separately assess the

reasonableness of plaintiffs, attorney’s fees.” Lliguichuzcha v. Cinema 60, LLC, 948 F. Supp. 2d

'362, 366 (S.D.N.Y. 2013). In order to aid in this determination, “counsel must submit evidence

providing a factual basis for the [attorney’s fees] award.” Beckert, 2015 WL 6503832, at *2.

         Therefore, it is hereby:

         ORDERED that within thirty (30) days of this Order the parties provide this Court with the

terms of the settlement in order to ensure that, in compliance with the FLSA, they are fair and

reflect a reasonable compromise of disputed issues.

         IT IS FURTHER ORDERED that, along with the terms of the settlement, the parties shall

provide this court with a joint letter of no more than five (5) pages explaining why they believe the

settlement reflects a fair and reasonable compromise of disputed issues. Such letter should include,

but need not be limited to, information concerning the five (5) factors identified in Beckert.

         IT IS FURTHER ORDERED that, if the agreement includes a provision for attorney’s fees,

the parties submit evidence providing a factual basis for the attorney’s fees award. Such basis

should include “contemporaneous billing records documenting, for each attorney, the date, the

hours expended, and the nature of the work done.” Lopez v. Nights of Cabiria, LLC, No. 14–cv–

1274 (LAK), 2015 WL 1455689, at *7 (S.D.N.Y. March 30, 2015).

SO ORDERED.

Dated:           November 15, 2019
                 New York, New York
                                                      ________________________________
                                                      Vernon S. Broderick
                                                      United States District Judge
